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                                   STATEMENT OF FACTS

       Your affiant,                 , is a Special Agent with the Federal Bureau of Investigation
(“FBI”), Indianapolis Division. I have been in this position since May 2021. I am currently
assigned to the Joint Terrorism Task Force (“JTTF”). As a special agent with the FBI assigned to
the JTTF, I have been trained in conducting investigations related to criminal offenses. I have also
received training on the execution of search warrants to seize items of evidence from residences,
vehicles, persons, communication providers, and electronic devices, such as cell phones and
computers. As such, I am an “investigative or law enforcement officer” of the United States within
the meaning of Title 18, United States Code, Section 2510(7), that is, an officer of the United
States who is empowered by law to conduct investigations of, and to make arrests for, offenses
enumerated in Section 2516 of Title 18, United States Code.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

        At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, around 2:00
p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking windows
and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged and
assisted those acts.


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       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.

        During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

                                  Identification of Patricia Wills

        Following the riot at the U.S. Capitol on January 6, 2021, the FBI received numerous tips
identifying Patricia Marie Wills (“WILLS”) as having entered the U.S. Capitol building during the
riot.

       On January 18, 2021, a senior manager at a government contracting firm emailed the FBI’s
Washington Field Office and reported that WILLS was an employee at the firm, who holds a
Department of Defense Secret security clearance, and that WILLS was present at the riot on
January 6 and physically entered the Capitol building. The senior manager reported that WILLS
had been interviewed through her job and admitted to entering the building and provided
photographs she had taken while inside.

        In addition, the FBI received two tips via the Crime Stoppers of Central Indiana tipline that
identified WILLS as someone who unlawfully entered the U.S. Capitol building on January 6,
2021.

                          Patricia Wills’s Conduct on January 6, 2021

       After the January 6, 2021 riot that occurred at the U.S. Capitol, photos of individuals who
were present on the grounds of the U.S. Capitol, as well as inside the Capitol building, were made
publicly available. Numerous publicly available videos from sources such as Parler, YouTube, and
news sources show WILLS inside and outside of the United States Capitol on January 6, 2021.

       In an open-source video from January 6, 2021, shown in Figure 1 below, WILLS is seen
walking in a street wearing a pink jacket, purple headband, and jeans, and carrying a flagpole with
an American flag and a “Trump 2020” flag attached.


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                    Figure 21: Photo taken by WILLS on January 6, 2021

       On January 6, 2023, a Twitter profile associated with WILLS’s email address posted the
tweet shown in Figure 22 below. The photo in the tweet appears to be from the west side of the
U.S. Capitol grounds on January 6, 2021, and the text of the tweet acknowledges the writer’s
presence at the U.S. Capitol on January 6, 2021.




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                                 Figure 22: January 6, 2023 tweet

                              Offenses Committed by Patricia Wills

       Based on the foregoing, your affiant submits that there is probable cause to believe that
WILLS violated 18 U.S.C. § 1752(a)(1) and (2), which makes it a crime to (1) knowingly enter or
remain in any restricted building or grounds without lawful authority to do; and (2) knowingly,
and with intent to impede or disrupt the orderly conduct of Government business or official
functions, engage in disorderly or disruptive conduct in, or within such proximity to, any restricted
building or grounds when, or so that, such conduct, in fact, impedes or disrupts the orderly conduct
of Government business or official functions; or attempts or conspires to do so. For purposes of
Section 1752 of Title 18, a “restricted building” includes a posted, cordoned off, or otherwise
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                                                    Digitally signed by
                                                    G. Michael Harvey
